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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NIIICHIGAN
                                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,                             No. I :12-cr-98

                       Plaintit
                                                      Hon. Robert Holmes Bell
       V.                                             United States District Judge

PABLO RAZO FIERRO,

                       Defendant.



                                      PLEA AGREEMENT

       This constitutes the plea agreement between Pablo Razo Fierro and the United States

Attorney's Office for the Western District of Michigan. The terms of the agreement are as

follows:

       1.      The Defendant Agrees to Plead   Guilty.        The defendant agrees to plead guilty to

Count 1 of the Indictment. Count I charges the defendant with Social Security Fraud in violation

of Title 42,United States Code, Section a08(a)(   )(l).
       2.      Defendant Understands the   Crime.         In order for the defendant to be guilty of

violating Title 42, United States Code, Section a08(a)(a)(1), the following must be true:

               a-     The defendant had knowledge of an event affecting the right to receive or to

continue to receive Social Security Disability payments;

               b-     The defendant knowingly concealed or failed to disclose this event to
                                                                                            the

Social Security Administration; and

              c'      The defendant had the intent to fraudulently secure disability
                                                                                     benefits in an
amount greater than was due or when no payment was authorized.
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         The defendant is pleading guilty because the defendant is guilty of the charge described

above.

         3.       The Defendant Understands the Penalty.          The statutory maximum sentence that

the Court can impose for a violation of Title 42,United States Code, Section a08(a)(a)(1) is the

following: 5 years' imprisonme nt; a 3-year period of supervised release; a fine of $250,000, or

twice the gross gain or gross loss resulting from the offense, whichever is greater; and a mandatory

special assessment of    $   100.   The defendant agrees to pay the special assessment at or before the

time of sentencing unless the defendant affirmatively demonstrates to the Court that he lacks the

ability to pay.

         4.       Restitution   (VWPA).        The defendant agrees to make fullrestitution for the

losses caused by his activities, as determined by the Court at sentencing. The defendant agrees

that the restitution order is not restricted to the amounts alleged in the counts to which the

defendant is pleading guilty.

         5.       Factual Basis of   Guilt.     The defendant and the U.S. Attorney's Office agree and

stipulate to the following statement of facts which need not be proven at the time of the plea or

sentencing:

                  a.     In   1996, the defendant applied for and began receiving Social Security

disability payments from the Social Security Administration. The defendant represented in his

application that he was disabled and could not work due to a back        injury.   The defendant further

certified that he would notify the Social Security Administration if his medical condition improved

so that he could return to    work, or if he in fact returned to work.

                  b.     In2004, the defendant incorporated and opened "Pablo's Tacos,"         a

restaurant business in Muskegon. From 2005 through 2011, the defendant was gainfully
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employed as the owner and operator of that business, from which he derived income that would

have disqualified him from the receipt of Social Security Disability benefits.

                      c.     At all times relevant to the Indictment, the defendant concealed his gainful

employment from the Social Security Administration in order to continue receiving benefits to

which he knew he was not entitled.

        6.            The United States Attorney's Office Agrees.

                      a.     Dismissal of Count 2 and Forfeiture      Allegation.         The U.S. Attorney's

Office agrees to move to dismiss Count 2 of the Indictment, and its associated forfeiture allegation,

at the time of sentencing.

                      b.     Acceptance of    Responsibilifr.       The U.S. Attorney's Office agrees not to

oppose the defendant's request for a two-level reduction of his offense level for acceptance              of

responsibility under Section 3El.l(a) of the Sentencing Guidelines. However, the U.S.

Attorney's Office reserves the right to object to the defendant's request if it subsequently learns of

conduct by the defendant that is inconsistent with the criteria set forth in the Commentary to

Section 3E 1 .1   .     Should the Court grant   a   two-level reduction   as   provided herein, the Government

will move the Court to grant         an additional one-level reduction     if the adjusted offense level is l6 or

greater pursuant to Section 3E 1 . I (b).

                  c.         Non-Prosecution. The U.S. Attorney's Office agrees, except for

criminal tax violations (including conspiracy to commit such violations chargeable under 18

U.S.C. $ 371), not to further prosecute the defendant for violations arising out of his Social

Security Disability        fraud.   The defendant understands that the U.S. Attorney's Office is free to

prosecute him for any other unlawful past conduct or any unlawful conduct that occurs after the

date of this agreement.
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        7.      The Sentencine     Guidelines.     The defendant understands that, although the

United States Sentencing Guidelines (the "Guidelines") are not mandatory, the Court must consult

the Guidelines and take them into account when sentencing the defendant. The defendant

understands that the Court, with the aid of the presentence report,    will   determine the facts and

calculations relevant to sentencing. The defendant understands that the defendant and the

defendant's attorney   will   have the opportunity to review the presentence report and to make

objections, suggestions, and recommendations conceming the calculation of the Guideline range

and the sentence to be   imposed. The defendant further understands that the Court shall make the

final determination of the Guideline range that applies in this case, and may impose a sentence

within, above, or below the Guideline range, subject to the statutory maximum penalties described

elsewhere in this Agreement. The defendant further understands that disagreement with the

Guideline range or sentence shall not constitute a basis for withdrawal of the plea.

        8.      There is No Agreement About the Final Sentencing Guidelines Range. The

defendant and the U.S. Attorney's Office have no agreement as to the applicable Sentencing

Guidelines factors or the appropriate guideline range. Both parties reserve the right to seek any

sentence within the statutory maximum, and to argue for any criminal history category and score,

offense level, specific offense characteristics, adjustments and departures.

        9.      Waiver of     ConstitutionalRights. By pleading guilty, the defendant           gives up

the right to persist in a plea of not guilty and the right to a speedy and public trial by   jury or by the

Court. As a result of the defendant's guilty pleas, there will    be no   trial. At any trial, whether   by

jury or by the Court, the defendant would have had the following rights:

                a.       The right to the assistance of counsel, including,   if the defendant could not

afford an attorney, the right to have the Court appoint an attorney to represent the defendant.
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                 b.      The right to be presumed innocent and to have the burden of proof placed

on the Government to prove the defendant guilty beyond a reasonable doubt.

                 c.      The right to confront and cross-examine witnesses against the defendant.

                 d.      The right, if the defendant wished, to testify on the defendant's own behalf

and present evidence in opposition to the charges, including the right to call witnesses and to

subpoena those witnesses to testify.

                        The right not to be compelled to testify, and, if the defendant chose not to

testify or present evidence, to have that choice not be used against the defendant.

                 f.     By pleading guilty, the defendant also gives up any and all rights to pursue

in this Court or on appeal any affirmative defenses, Fourth Amendment or Fifth Amendment

claims, and other pretrial motions that have been filed or could be filed.

        10.      Waiver of Other Rights.

       A.        Waiver. In exchange for   the promises made by the govemment in entering this

plea agreement, the defendant waives all rights to appeal or collaterally attack the defendant's

conviction, sentence, or any other matter relating to this prosecution, except as listed below.


       B.        Exceptions. The defendant may appeal or seek collateral relief to raise a claim,      if
otherwise permitted by law in such a proceeding, on the following grounds:

            l)   the defendant's sentence on any count ofconviction exceeded the statutory
                 maximum for that count;

            2) the defendant's    sentence was based on an unconstitutional factor, such as race,
                 religion, national origin, or gender;

            3)   the district court incorrectly determined the Sentencing Guidelines range,   if the
                 defendant objected at sentencing on that basis;
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                 4)       the defendant's sentence is above the Sentencing Guidelines range as determined
                          by the court at sentencing and is unreasonable;

                 ５
                     ６    the guilty plea was involuntary or unknowing;

                          an attorney who represented the defendant during the course of this criminal case
                          provided ineffective assistance of counsel.

        If the defendant           appeals or seeks collateral relief, the defendant may not present any issue

in the proceeding other than those described in this subparagraph.

        1   l.            FOIA Requests.           The defendant hereby waives all rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution of this case, including without

limitation any records that may be sought under the Freedom of Information Act, 5 U.S.C. $ 552,

or the Privacy Act           of 1974, 5 U.S.C.    $ 552a.

        12.               The Court is not a Party to this Agreement.       The defendant understands that the

Court is not      a      party to this agreement and is under no obligation to accept any recommendation by

the U.S. Attorney's Office or the parties regarding the sentence to be imposed. The defendant

further understands that, even if the Court ignores such a recommendation or imposes any sentence

up to the maximum established by statute, the defendant cannot, for that reason, withdraw his

guilty plea, and he will remain bound to fulfill all his obligations under this agreement. The

defendant understands that no one             -   not the prosecutor, the defendant's attorney, or the Court   -
can make a binding prediction or promise regarding the sentence the defendant               will receive, except
that it will be within the statutory maximum.

        13.              This Asreement is Limited to the     Pafties.    This agreement is limited to the U.S.

Attorney's Office for the Western District of Michigan, and cannot bind any other federal,
                                                                                           state or

local prosecuting, administrative or regulatory authority. This agreement
                                                                          applies only to crimes
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committed by the defendant. This agreement does not apply to or preclude any past, present, or

future forfeiture or civil actions.

        14.      Consequences of      Breach.    If the defendant breaches any provision of this

agreement, including any promise of cooperation, whether before or after sentencing, the United

States shall have the right to terminate this agreement, or deny any or all benefits to which the

defendant would otherwise be entitled under the terms of this agreement. In the event that the

United States elects to terminate this agreement, the agreement shall be considered null and void,

and the parties shall return to the same position they were in prior to the execution of this

agreement, as though no agreement ever      existed. In such   an event, the defendant shall remain

liable for prosecution on all original charges, and the United States shall be free to bring such

additional charges as the law and facts warrant. The defendant further agrees to waive and

forever give up his right to raise any claim that such a prosecution is time-barred if the prosecution

is brought   within one (l) year of the breach that gives rise to the termination of this agreement.

        15.      This is the Complete   Asreement.      This agreement has been entered into by both

sides freely, knowingly, and voluntarily, and it incorporates the complete understanding between

the parties. No other promises have been made, nor may any additional agreements,

understandings or conditions be entered into unless in a writing signed by all parties or on the

record in open court.

                                                PATRICK A.MILES,JR.
                                                United States Attomcy




                                                NILS R.KESSLER
                                                Assistant United States Attomey
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        I have read this agreement and carefully discussed every part of it with my attomey. I
understand the terms of this agreement, and I voluntarily agree to those terms. My attorney has
advised me of my rights, of possible defenses, of the sentencing provisions, and of the
consequences of entering into this agreement. No promises or inducements have been made to
me other than those contained in this agreement. No one has threatened or forced me in any way
to enter into this agreement. Finally, I am satisfied with the representation of my attorney in this
matter.



x/rc oi
Date
                                              Defendant

       I am Pablo Razo Fierro's attorney. I have carefully discussed every part of this agreement
with my client. Further, I have fully advised my client of his rights, of possible defenses, of the
sentencing provisions, and of the consequences of entering into this agreement. To my
knowledge, my client's decision to enter into this    ment is an informed and voluntary one.




Date                                           RITT MoCOBB
                                             Attorney for Defendant
